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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


    UNITED STATES OF AMERICA


                           v.

                                                                Case No. 1:18-cr-83 (TSE)
    PAUL J. MANAFORT, JR.,

                                      Defendant.


    NON-CONFIDENTIAL MEMORANDUM IN SUPPORT OF MOTION TO SEAL THE
     GOVERNMENT’S MOTIONS FOR USE IMMUNITY FOR TRIAL TESTIMONY

         The United States of America, by and through Special Counsel Robert S. Mueller, III,

pursuant to Local Rule of Court 49(E) of the Local Criminal Rules for the United States District

Court for the Eastern District of Virginia, respectfully requests an Order sealing its motions for

use immunity for the trial testimony of five potential witnesses.

I.       Items to Be Sealed and Necessity for Sealing

         1.     The government seeks to seal five Motions for Use Immunity for Trial Testimony

pertaining to potential witnesses in the trial presently scheduled for July 25, 2018. 1 The motions

indicate that the named individuals will not testify or provide other information on the basis of

their privilege against self-incrimination, and that the government is requesting that the Court

compel them to testify at the upcoming trial.

         2.     The five individuals identified in the motions at issue are third parties who have not

been charged in this matter, and who have not been identified publicly with the case. Disclosing



1
 Although the government is also filing the five motions for use immunity ex parte, it will provide
any corresponding orders for use immunity to defense counsel in advance of trial.
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the motions would reveal those individuals’ involvement in the investigation and the trial, thereby

creating the risk of their undue harassment. Such concern potentially would be heightened by the

additional revelation that they have invoked their privilege against self-incrimination and may be

granted immunity from the use against them of any compelled testimony. There is also a concern

that the witnesses’ invocation of their privilege against self-incrimination and the Court’s

subsequent grant of immunity could lead to reputational harm for the witnesses. See U.S.

Attorneys’ Manual, 9-27.760 (“In all public filings and proceedings, federal prosecutors should

remain sensitive to the privacy and reputation interests of uncharged third-parties.”).

        3.     The government recognizes that if any of the five individuals are called to testify,

their identity and receipt of use immunity likely will become public, and thus the concerns raised

in this motion no longer would apply. Accordingly, in order to narrowly tailor its request, the

government proposes that the information remain sealed unless and until the individuals testify in

this case.

II.     References to Governing Case Law

        3.   The Court has the inherent power to seal materials submitted to it. See United States

v. Wuagneux, 683 F.2d 1343, 1351 (11th Cir. 1982); State of Arizona v. Maypenny, 672 F.2d 761,

765 (9th Cir. 1982); Times Mirror Company v. United States, 873 F.2d 1210 (9th Cir. 1989); see

also Shea v. Gabriel, 520 F.2d 879 (1st Cir. 1975); United States v. Hubbard, 650 F.2d 293 (D.C.

Cir. 1980); In re Braughton, 520 F.2d 765, 766 (9th Cir. 1975). “The trial court has supervisory

power over its own records and may, in its discretion, seal documents if the public’s right of access

is outweighed by competing interests.” In re Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984).

Sealing is appropriate to protect the reputational and privacy interests of third parties. See, e.g.,

United States v. Smith, 776 F.2d 1104, 1115 (3d Cir.1985) (finding that the trial court properly



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sealed a Bill of Particulars to protect the identities of third party individuals and “the reputational

and privacy interests” of those third parties); United States v. Gerena, 869 F.2d 82, 85 (2d Cir.

1989) (finding the need to consider the privacy interests of innocent third parties that may be

harmed by disclosure); United States v. Bracy, 67 F.3d 1421, 1426–27 (9th Cir. 1995) (finding that

the need to protect the safety of potential witnesses justified sealing of indictment).

III.   Period of Time Government Seeks to Have the Matter Remain Under Seal

       4.      The government is only seeking to have the five motions remain sealed unless and

until the named individuals testify in the upcoming trial.



       WHEREFORE, the United States respectfully requests that an order be entered allowing

the motions be placed under seal.


                                                       Respectfully submitted,

                                                       ROBERT S. MUELLER, III
                                                       Special Counsel

Dated: July 17, 2018                                   /s/ Andrew Weissmann
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on the 17th day of July, 2018, I will cause to be filed electronically the

foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification

of such filing (NEF) to the following:


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